     Case 3:20-cv-02314-GPC-KSC Document 1 Filed 11/28/20 PageID.1 Page 1 of 9



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 6

 7

 8                       UNITED STATES DISTRICT COURT
 9                    SOUTHERN DISTRICT OF CALIFORNIA
10                                   SAN DIEGO DIVISION
11

12 STRIKE 3 HOLDINGS, LLC,                         Case Number:     '20CV2314 GPC KSC
13                      Plaintiff,                 COMPLAINT FOR COPYRIGHT
                                                   INFRINGEMENT - DEMAND FOR
14 vs.                                             JURY TRIAL
15 JOHN DOE subscriber assigned IP
     address 104.6.138.154,
16
                        Defendant.
17

18

19         Plaintiff, Strike 3 Holdings, LLC (“Strike 3” or “Plaintiff”), brings this
20 complaint against Defendant, John Doe subscriber assigned IP address

21 104.6.138.154 (“Defendant”), and alleges as follows:

22                                       Introduction
23         1.    This is a case about the ongoing and wholesale copyright
24 infringement of Plaintiff’s motion pictures by Defendant, currently known only by

25 an IP address.

26         2.    Plaintiff is the owner of award-winning, critically acclaimed adult
27 motion pictures.

28         3.    Strike 3’s motion pictures are distributed through the Blacked, Tushy,
                                               1

                                Complaint – Demand for Jury Trial
     Case 3:20-cv-02314-GPC-KSC Document 1 Filed 11/28/20 PageID.2 Page 2 of 9



 1 Vixen, and Blacked Raw adult websites and DVDs. With millions of unique

 2 visitors to its websites each month, the brands are famous for redefining adult

 3 content, creating high-end, artistic, and performer-inspiring motion pictures

 4 produced with a Hollywood style budget and quality.

 5          4.   Defendant is, in a word, stealing these works on a grand scale. Using
 6 the BitTorrent protocol, Defendant is committing rampant and wholesale

 7 copyright infringement by downloading Strike 3’s motion pictures as well as

 8 distributing them to others. Defendant did not infringe just one or two of Strike

 9 3’s motion pictures. Rather, Defendant has been recorded infringing 181 movies
10 over an extended period of time.

11          5.   Although Defendant attempted to hide this theft by infringing
12 Plaintiff’s content anonymously, Defendant’s Internet Service Provider (“ISP”),

13 AT&T U-verse, can identify Defendant through his or her IP address

14 104.6.138.154.

15          6.   In an effort to conserve Federal judicial resources, Strike 3 originally
16 moved to discover Defendant’s identity utilizing a state court procedure in Florida

17 where Strike 3’s infringement detection servers are located. The ISP, however,

18 expressed that it would only comply with an order issued by a federal

19 court. Because Plaintiff is amenable to litigating the matter in either forum, this

20 suit was initiated.

21          7.   This is a civil action seeking damages under the United States
22 Copyright Act of 1976, as amended, 17 U.S.C. §§ 101 et seq. (the “Copyright

23 Act”).

24                                Jurisdiction and Venue
25          8.   This Court has subject matter jurisdiction over this action pursuant to
26 28 U.S.C. § 1331 (federal question); and 28 U.S.C. § 1338 (jurisdiction over

27 copyright actions).

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                               Complaint – Demand for Jury Trial
     Case 3:20-cv-02314-GPC-KSC Document 1 Filed 11/28/20 PageID.3 Page 3 of 9



 1         9.    This Court has personal jurisdiction over Defendant because
 2 Defendant used an Internet Protocol address (“IP address”) traced to a physical

 3 address located within this District to commit copyright infringement. Therefore:

 4 (i) Defendant committed the tortious conduct alleged in this Complaint in this

 5 State; and, (ii) Defendant resides in this State and/or; (iii) Defendant has engaged

 6 in substantial – and not isolated – business activity in this State.

 7         10.   Plaintiff used IP address geolocation technology by Maxmind Inc.
 8 (“Maxmind”), an industry-leading provider of IP address intelligence and online

 9 fraud detection tools, to determine that Defendant’s IP address traced to a physical
10 address in this District. Over 5,000 companies, along with United States federal

11 and state law enforcement, use Maxmind’s GeoIP data to locate Internet visitors,

12 perform analytics, enforce digital rights, and efficiently route Internet traffic.

13         11.   To ensure that Defendant’s IP address accurately traced to this
14 District, Plaintiff inputted Defendant’s IP address into Maxmind’s GeoIP database

15 twice: first when it learned of the infringement and again, just prior to filing this

16 lawsuit.

17         12.   Pursuant to 28 U.S.C. § 1391(b) and (c), venue is proper in this
18 district because: (i) a substantial part of the events or omissions giving rise to the

19 claims occurred in this District; and, (ii) the Defendant resides (and therefore can

20 be found) in this District and resides in this State. Additionally, venue is proper in

21 this District pursuant 28 U.S.C. § 1400(a) (venue for copyright cases) because

22 Defendant or Defendant’s agent resides or may be found in this District.

23                                          Parties
24         13.   Plaintiff, Strike 3 is a Delaware limited liability company located at
25 2140 S. Dupont Hwy, Camden, DE.

26         14.   Plaintiff currently can only identify Defendant by his or her IP
27 address. Defendant’s IP address is 104.6.138.154. Defendant’s name and address

28 can be provided by Defendant’s Internet Service Provider.
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                                Complaint – Demand for Jury Trial
     Case 3:20-cv-02314-GPC-KSC Document 1 Filed 11/28/20 PageID.4 Page 4 of 9



 1                                  Factual Background
 2                        Plaintiff’s Award-Winning Copyrights
 3          15.   Strike 3’s subscription-based websites proudly boast a paid
 4 subscriber base that is one of the highest of any adult-content sites in the world.

 5 Strike 3 also licenses its motion pictures to popular broadcasters and Strike 3’s

 6 motion pictures are the number one selling adult DVDs in the United States.

 7          16.   Strike 3’s motion pictures and websites have won numerous awards,
 8 such as “best cinematography,” “best new studio,” and “adult site of the year.”

 9          17.   Strike 3’s motion pictures have had positive global impact, leading
10 more adult studios to invest in better content, higher pay for performers, and to

11 treat each performer with respect and like an artist.

12          18.   Unfortunately, like a large number of other makers of motion picture
13 and television works, Strike 3 is the victim of mass Internet piracy. Often

14 appearing among the most infringed popular entertainment content on torrent

15 websites, Strike 3’s motion pictures are among the most pirated content in the

16 world.

17                  Defendant Used the BitTorrent File Distribution Network
18                               to Infringe Plaintiff’s Copyrights
19          19.   BitTorrent is a system designed to quickly distribute large files over
20 the Internet. Instead of downloading a file, such as a movie, from a single source,

21 BitTorrent users are able to connect to the computers of other BitTorrent users in

22 order to simultaneously download and upload pieces of the file from and to other

23 users.

24          20.   BitTorrent’s popularity stems from the ability of users to directly
25 interact with each other to distribute a large file without creating a heavy load on

26 any individual source computer and/or network. It enables Plaintiff’s motion

27 pictures, which are often filmed in state of the art 4kHD, to be transferred quickly

28 and efficiently.
                                               4

                                Complaint – Demand for Jury Trial
     Case 3:20-cv-02314-GPC-KSC Document 1 Filed 11/28/20 PageID.5 Page 5 of 9



 1         21.      To share a movie within the BitTorrent network, a user first uses
 2 BitTorrent software to create a .torrent file from the original digital media file.

 3 This process breaks the original digital media file down into numerous pieces.

 4         22.      The entire movie file being shared has a hash value (i.e., the “File
 5 Hash”). A hash value is an alpha-numeric value of a fixed length that uniquely

 6 identifies data.

 7         23.      Hash values are not arbitrarily assigned to data merely for
 8 identification purposes, but rather are the product of a cryptographic algorithm

 9 applied to the data itself. As such, while two identical sets of data will produce
10 the same cryptographic hash value, any change to the underlying data – no matter

11 how small – will change the cryptographic hash value that correlates to it.

12         24.      To find and re-assemble the pieces of the digital media file, i.e., to
13 download the file using BitTorrent, a user must obtain the .torrent file for the

14 specific file that has been broken down into pieces.

15         25.      Each .torrent file contains important metadata with respect to the
16 pieces of the file. When this data is put into the cryptographic algorithm, it results

17 in a hash value called the “Info Hash.”

18         26.      The “Info Hash” is the data that the BitTorrent protocol uses to
19 identify and locate the other pieces of the desired file (in this case, the desired file

20 is the respective file for the infringing motion pictures that are the subject of this

21 action) across the BitTorrent network.

22         27.      Using the Info Hash in the metadata of a .torrent file, a user may
23 collect all the pieces of the digital media file that correlates with the specific

24 .torrent file.

25         28.      Once a user downloads all of the pieces of that digital media file from
26 other BitTorrent users, the digital media file is automatically reassembled into its

27 original form, ready for playing.

28         29.      Plaintiff has developed, owns, and operates an infringement detection
                                                 5

                                  Complaint – Demand for Jury Trial
     Case 3:20-cv-02314-GPC-KSC Document 1 Filed 11/28/20 PageID.6 Page 6 of 9



 1 system, named “VXN Scan.”

 2         30.       Using VXN Scan, Plaintiff discovered that Defendant used the
 3 BitTorrent file network to illegally download and distribute Plaintiff’s copyrighted

 4 motion pictures.

 5         31.       To explain, while Defendant was using the BitTorrent file
 6 distribution network, VXN Scan established direct TCP/IP connections with

 7 Defendant’s IP address.

 8         32.       VXN Scan downloaded from Defendant one or more pieces of
 9 numerous digital media files.
10         33.       Plaintiff identified these pieces as portions of infringing copies of
11 Strike 3’s motion pictures.

12         34.       To explain, the VXN Scan system first searched for and obtained
13 .torrent files claiming to be infringing copies of Plaintiff’s works, and then

14 downloaded complete copies of the digital media files that correlate to those

15 .torrent files.

16         35.       Plaintiff then compared the completed digital media files to
17 Plaintiff’s copyrighted works to determine whether they are infringing copies of

18 one of Plaintiff’s copyrighted works.

19         36.       The digital media files have been verified to contain a digital copy of
20 a motion picture that is identical (or, alternatively, strikingly similar or

21 substantially similar) to Plaintiff’s corresponding original copyrighted Works.

22         37.       VXN Scan then used the “Info Hash” value, contained within the
23 metadata of the .torrent file correlated with a digital media file that was

24 determined to be identical (or substantially similar) to a copyrighted work, to

25 download a piece (or pieces) of the same digital media file from Defendant using

26 the BitTorrent network.

27         38.       At no point did VXN Scan upload content to any BitTorrent user.
28 Indeed, it is incapable of doing so.
                                                  6

                                   Complaint – Demand for Jury Trial
     Case 3:20-cv-02314-GPC-KSC Document 1 Filed 11/28/20 PageID.7 Page 7 of 9



 1         39.    The VXN Scan captured transactions from Defendant sharing
 2 specific pieces of 181 digital media files that have been determined to be identical

 3 (or substantially similar) to a copyrighted work(s) that Plaintiff owns.

 4         40.    VXN Scan recorded each transaction in a PCAP file.
 5         41.    VXN Scan recorded multiple transactions in this matter.
 6         42.    For each work infringed a single transaction is listed on Exhibit A.
 7         43.    For each transaction listed, Exhibit A sets forth the Universal Time
 8 Coordinated (UTC) time and date of each transaction, along with (1) the Info

 9 Hash value obtained from the metadata of the corresponding .torrent file that
10 formed the basis of the VXN Scan’s request for data , and (2) the File Hash value

11 of the digital media file itself.

12         44.    Exhibit A also sets forth relevant copyright information for each
13 work at issue: the date of publication, the date of registration, and the work’s

14 copyright registration number. In a showing of good faith, Plaintiff has

15 intentionally omitted the title of the work from this public filing due to the adult

16 nature of its content, but can provide a version of Exhibit A containing the works’

17 titles to the Court or any party upon request.

18         45.    Thus, Defendant downloaded, copied, and distributed Plaintiff’s
19 Works without authorization.

20         46.    Defendant’s infringement was continuous and ongoing.
21         47.    Plaintiff owns the copyrights to the Works and the Works have been
22 registered with the United States Copyright Office.

23         48.    Plaintiff seeks statutory damages, attorneys’ fees, and costs under
24 17 U.S.C. § 501 of the United States Copyright Act.

25                                         COUNT I
26                              Direct Copyright Infringement
27         49.    The allegations contained in paragraphs 1-48 are hereby re-alleged as
28 if fully set forth herein.
                                                7

                                 Complaint – Demand for Jury Trial
     Case 3:20-cv-02314-GPC-KSC Document 1 Filed 11/28/20 PageID.8 Page 8 of 9



 1        50.    Plaintiff is the owner of the Works, which is an original work of
 2 authorship.

 3        51.    Defendant copied and distributed the constituent elements of
 4 Plaintiff’s Works using the BitTorrent protocol.

 5        52.    At no point in time did Plaintiff authorize, permit or consent to
 6 Defendant’s copying, distribution, performance and/or display of its Works,

 7 expressly or otherwise.

 8        53.    As a result of the foregoing, Defendant violated Plaintiff’s exclusive
 9 right to:
10        (A)    Reproduce its Works in copies, in violation of 17 U.S.C. §§ 106(1)
11 and 501;

12        (B)    Distribute copies of the Works to the public by sale or other transfer
13 of ownership, or by rental, lease or lending, in violation of 17 U.S.C. §§ 106(3)

14 and 501;

15        (C)    Perform the copyrighted Works, in violation of 17 U.S.C. §§ 106(4)
16 and 501, by showing the Works’ images in any sequence and/or by making the

17 sounds accompanying the Works’ audible and transmitting said performance of

18 the work, by means of a device or process, to members of the public capable of

19 receiving the display (as set forth in 17 U.S.C. § 101’s definitions of “perform”

20 and “publicly” perform); and

21        (D)    Display the copyrighted Works, in violation of 17 U.S.C. §§ 106(5)
22 and 501, by showing individual images of the works non-sequentially and

23 transmitting said display of the works by means of a device or process to members

24 of the public capable of receiving the display (as set forth in 17 U.S.C. § 101’s

25 definition of “publicly” display).

26        54.    Defendant’s infringements were committed “willfully” within the
27 meaning of 17 U.S.C. § 504(c)(2).

28        WHEREFORE, Plaintiff respectfully requests that the Court:
                                              8

                               Complaint – Demand for Jury Trial
     Case 3:20-cv-02314-GPC-KSC Document 1 Filed 11/28/20 PageID.9 Page 9 of 9



 1        (A)   Permanently enjoin Defendant from continuing to infringe Plaintiff’s
 2 copyrighted Works;

 3        (B)   Order that Defendant delete and permanently remove the digital
 4 media files relating to Plaintiff’s Works from each of the computers under

 5 Defendant’s possession, custody or control;

 6        (C)   Order that Defendant delete and permanently remove the infringing
 7 copies of the Works Defendant has on computers under Defendant’s possession,

 8 custody or control;

 9        (D)   Award Plaintiff statutory damages per infringed work pursuant to 17
10 U.S.C. § 504(a) and (c);

11        (E)   Award Plaintiff its reasonable attorneys’ fees and costs pursuant to
12 17 U.S.C. § 505; and

13        (F)   Grant Plaintiff any other and further relief this Court deems just and
14 proper.

15        DATED this 27th day of November, 2020.
16                                          Law Offices of Lincoln Bandlow, P.C.
17                                          s/ Lincoln D. Bandlow
                                            Lincoln D. Bandlow
18                                          Attorneys for Plaintiff
                                            Strike 3 Holdings, LLC
19

20                          DEMAND FOR A JURY TRIAL
21        Plaintiff hereby demands a trial by jury on all issues so triable.
22        DATED this 27th day of November, 2020.
23                                          Law Offices of Lincoln Bandlow, P.C.
24                                          s/ Lincoln D. Bandlow
                                            Lincoln D. Bandlow
25                                          Attorneys for Plaintiff
                                            Strike 3 Holdings, LLC
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                               Complaint – Demand for Jury Trial
